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                                         ORDERED.
 Dated: May 20, 2021




                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

In re:                                                        Case No.: 6:19-bk-01933-LVV
                                                              Chapter 7
Carol A. Hertenstein

Debtor.
                                                 /

                 AGREED ORDER GRANTING TRUSTEE’S MOTION TO
                    APPROVE SALE OF ESTATE’S INTEREST IN
               NON-EXEMPT REAL ESTATE IN LAKE COUNTY, FLORIDA

         This case came before the Court on Trustee’s Motion for Order Approving Sale of

Estate’s Interest in Non-Exempt Real Estate in Lake County, Florida, dated April 9, 2021,

(docket no. 40). Said Motion was served on all interested parties and Select Portfolio Servicing

filed a response to the Motion (DE# 42). By submission of this order for entry, the submitting

counsel represents that the opposing party consents to its entry.

         Accordingly, it is

         ORDERED that the Trustee’s Motion for Order Approving Sale of Estate’s Interest in

Non-Exempt Real Estate in Lake County, Florida, is granted, and the Trustee is authorized to sell

the estate’s interest in said property, as follows:

         1. The property to be sold is more particularly described as:
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            Lot 68, Crescent Bay, according to the map or plat thereof, as recorded in Plat
            Book 28, Page(s) 98 through 100, inclusive, of the Public Records of Lake
            County, Florida. a/k/a 11024 Windchime Circle, Clermont, FL 34711

       3. The property shall be sold to the following buyer for the sales price indicated:

Jeremy Phillip Carter and Stephanie Marie Carter               Sales Price: $285,000.00

       4. The Trustee has represented that no closing costs are to be paid by the Estate and has

obtained short sale approval from the mortgage holder who has authorized the following to be

paid from the sales price: normal closing costs, realtor fees and costs, sums necessary to satisfy

an existing mortgage, prorated 2020 real estate taxes, delinquent homeowners association dues,

and bankruptcy estate carve out as described in the Motion.

       5. Trustee is authorized to transfer title to the property by Trustee’s Deed, conveying the

interest of the estate, subject to current taxes, assessments, zoning, restrictions, and other

requirements imposed by governmental authorities, restrictions and other matters appearing on

the plat or otherwise common to the subdivision, and public utility easements of record.

       6. The Estate shall provide to buyer, a certified copy of the Order approving sale,

certified copy of Notice of Commencement and certified copy of docket, reflecting no objection

to the sale, or if any, that said objections have been overruled by Court Order.

       7. The closing will take place within ninety days of entry of this Order and in accordance

with all conditions of lender’s approval of the sale.

       8. The closing agent shall satisfy the lien of the first mortgage in the agreed amount of

$238,425.79 or any other amount agreed by the parties.

       9. The closing agent shall satisfy the lien of the second mortgage in the amount of

$4,957.84 or any other amount agreed by the parties.

       10. The 14-day stay pursuant to Rule 6004(h) is hereby waived.
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Agreed to by:


/s/ Jennifer Laufgas, Esq.
Attorney for SPS


Filer’s Attestation: Pursuant to Local Rule 1001-2(e)(3) regarding signatures, Arvind Mahendru
attests that concurrence in the filing of this paper has been obtained.


/s/ Arvind Mahendru
Arvind Mahendru, Esq.


Trustee Dennis Kennedy is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.
